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       Federal Trade Commission                  BY: ___________________ DEPUTY
  12
  13                 IN THE UNITED STATES DISTRICT COURT
  14               FOR THE CENTRAL DISTRICT OF CALIFORNIA

  15   Federal Trade Commission,              Filed Under Seal
  16               Plaintiff,
  17         vs.                              Emergency Motion
  18   Digital Altitude LLC, a Delaware
  19   limited liability company,                            729-JAK-MRWx
                                              No. ___:18-CV-_____________
                                                   2
       Digital Altitude Limited, a United
  20   Kingdom company,
  21   Aspire Processing LLC, a Nevada        PLAINTIFF’S MEMORANDUM OF
       limited liability company,             LAW IN SUPPORT OF ITS EX PARTE
  22   Aspire Processing Limited, a United    APPLICATION FOR (1)
  23   Kingdom company,                       TEMPORARY RESTRAINING
       Aspire Ventures Ltd, a United          ORDER AND ORDER TO SHOW
  24   Kingdom company,                       CAUSE WHY A PRELIMINARY
  25   Disc Enterprises Inc., a Nevada        INJUNCTION SHOULD NOT ISSUE,
       corporation,                           AND (2) ORDER WAIVING NOTICE
  26   RISE Systems & Enterprise LLC, a       REQUIREMENT
  27   Utah limited liability company,
       RISE Systems & Enterprise LLC, a
  28   Nevada limited liability company,
       Soar International Limited Liability
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  1    Company, a Utah limited liability
       company,
  2
       The Upside, LLC, a California limited
  3    liability company,
       Thermography for Life, LLC, also
  4
       d/b/a Living Exceptionally, Inc., a
  5    Texas limited liability company,
       Michael Force, individually and as an
  6
       officer, member, and/or manager of
  7    Digital Altitude LLC and Soar
       International Limited Liability
  8
       Company,
  9    Mary Dee, individually and as an
       officer, member, and/or manager of
  10
       Digital Altitude LLC, Digital Altitude
  11   Limited, Aspire Processing LLC, RISE
       Systems & Enterprise LLC, The Upside,
  12
       LLC, and Thermography for Life, LLC,
  13   Morgan Johnson, individually and as
  14   an officer, member, and/or manager of
       Digital Altitude LLC and RISE Systems
  15   & Enterprise LLC,
  16   Alan Moore, individually and as an
       officer, member, and/or manager of
  17   Digital Altitude LLC and Aspire
  18   Processing Limited,
       Sean Brown, individually and as an
  19   officer, member, and/or manager of
  20   Aspire Processing LLC, Disc
       Enterprises Inc., and RISE Systems &
  21   Enterprise LLC,
  22               Defendants.
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  28       17                                                  559         609
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                                 Description                 First Page   Last Page
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  3        18                                                   610         615
                    Proxy, LLC
  4
           19       Documents Produced by Wix.com Ltd.          616         619
  5
                    Documents Produced by Earth Class
  6        20                                                   620         625
                    Mail, Inc.
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           21                                                   626         630
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           22       Documents Produced by Square, Inc.          631         845
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           23                                                   846         854
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                    Systems
  13
                    Documents Produced by EVO Payments
  14       25                                                   871         900
                    International, LLC
  15                Documents Produced by Bright Market
           26                                                   901         909
                    LLC, also d/b/a FastSpring
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  17       27       Documents Produced by ProPay, Inc.          910         914

  18                Documents Produced by Pivotal
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           33                                                   977         996
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  27       34                                                   997         1031
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  1       EX
                                  Description               First Page   Last Page
  2     Number
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  3
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   1   I.       Introduction
   2            The Federal Trade Commission (“FTC”) respectfully requests that the Court
   3   bring an immediate halt to Defendants’ fraudulent scheme that preys on consumers
   4   nationwide with false promises of earning substantial income.1 Some victims have
   5   lost as much as $30,000,2 and Defendants continue to injure consumers to this day.
   6   As of March 22, 2017, Defendants had already taken in over $32 million.3
   7            Defendants operate “Digital Altitude,” an online enterprise. Defendants state
   8   that consumers who join Digital Altitude will earn large sums of money operating
   9   their own business online. Defendants claim their program will provide “business
  10   coaching” that will enable consumers to “build a digital business” and earn “six
  11   figures online in 90-days or less.” In reality, Digital Altitude is nothing more than
  12   an elaborate scheme to part consumers from their money and line the pockets of a
  13   small group of insiders. Defendants extract steep fees from consumers, but the vast
  14   majority of participating consumers earn little or nothing, much less the promised
  15   “six figures.” Similarly, the “coaches” Defendants provide are merely salespeople,
  16   and their sales pitches, in the vast majority of cases, do not enable consumers to
  17   build successful businesses. Instead, the salespeople urge consumers to exhaust
  18   their savings and take on massive debt, all to pay Defendants more.
  19            Defendants’ conduct violates Section 5(a) of the FTC Act, 15 U.S.C. § 45(a),
  20   and their operation is entirely permeated by fraud. To protect consumers and
  21
            1
  22       The FTC submits eight volumes of exhibits, including declarations from 13
       consumers, in support of this Application. References to exhibits appear as “EX
  23   [number], [page].”
         2
  24       See e.g., EX 2, 23.
         3
           EX 35, 1100-04, 1108. As stated in the Complaint, the estimated consumer
  25   injury totals at least $14 million. This is a low estimate. Defendants’ financials,
  26   submitted in another case, show gross revenue through 2016 of $27.9 million, and
       less than $13.7 million in payments back to consumers, leaving at least $14.2
  27   million in consumer loss. Id. However, the consumer harm through 2016 is likely
       higher, since most of the payments back to consumers likely went to a handful of
  28   individuals who profited handsomely, not to reimbursing consumers. And this
       figure does not account for any consumer loss in 2017 or beyond.

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   1   preserve assets for consumer redress to Defendants’ victims, the FTC seeks an ex
   2   parte temporary restraining order (“TRO”) that enjoins Defendants’ unlawful
   3   conduct, freezes their assets, appoints a temporary receiver over the Corporate
   4   Defendants, permits the temporary receiver and FTC staff immediate access to
   5   Defendants’ business premises and records, requires Defendants to disclose their
   6   assets, and allows limited expedited discovery. The FTC also requests that the
   7   Court order Defendants to show cause why a preliminary injunction should not
   8   issue against them. In numerous similar cases brought by the FTC, District courts
   9   across the country, including in this Circuit and District, have granted such relief.4
  10   II.   Statement of Facts
  11         Since at least 2015, Digital Altitude has duped consumers into spending up
  12   to tens of thousands of dollars by deceptively claiming that Digital Altitude will
  13   enable them to earn substantial money online.
  14         A.     Defendants’ Deceptive Business Practices
  15                1.     The Wide Net of Advertisements
  16         Defendants advertise their purported money-making program through online
  17   webpages and social media platforms, including Facebook and Instagram. The
  18   focus of Defendants’ advertisements—whether placed on a webpage, social media
  19   platform, or elsewhere, and whether placed by Defendants directly or by
  20   consumers or affiliates using Defendants’ marketing materials5—is a promise that
  21
         4
           See, e.g., FTC v. BunZai Media Grp., Inc., No. 2:15-CV-4527, 2015 WL
  22   5305243 (C.D. Cal. Sep. 9, 2015) (TRO, asset freeze against individual and
  23   corporate defendants, and receiver); FTC v. J.K. Publ’ns, Inc., 99 F. Supp. 2d 1176
       (C.D. Cal. 2000) (same); FTC v. Arlington Press, Inc., No. 2:98-CV-9260, 1999
  24   WL 33562452 (C.D. Cal. Jan. 18, 1999) (same); FTC v. Equifin Int’l, No. 2:97-CV-
       4526, 1997 U.S. Dist. LEXIS 10288 (C.D. Cal. July 3, 1997) (same). The Ninth
  25   Circuit has affirmed such cases. See, e.g., FTC v. Affordable Media, LLC, 179 F.3d
       1228, 1232 & n.2 (9th Cir. 1999); FTC v. Am. Nat’l Cellular, Inc., 810 F.2d 1511,
  26   1512 (9th Cir. 1987).
         5
  27       Once consumers join, Defendants encourage them to place their own ads. See,
       e.g., EX 9, 130; EX 5, 68; EX 2, 20. Defendants direct consumers to use
  28   Defendants’ materials for these purposes. EX 39, 1295 (“Affiliates must use the
       sales aids and support materials produced by Digital Altitude.”).

                                           2
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   1   consumers will quickly make substantial earnings with Defendants’ program.6
   2         Typically, advertisements direct consumers to a landing page controlled by
   3   Digital Altitude. That page plays a video message from Defendant Michael Force,
   4   the scheme’s founder and leader.7 Force promises that the consumer is about to
   5   learn how to “make six figures online in the next 90 days or less.” He explains that
   6   the consumer will earn this money because he, Force, will “give” the consumer
   7   Force’s own “million dollar business.”8 These earnings claims are false—most
   8   consumers who join do not earn the substantial income advertised, and cannot even
   9   make back the money they pay to Defendants. Indeed, defendants recognize that
  10   most consumers receive virtually nothing.9
  11         A key selling point is Force’s promise that Digital Altitude will provide
  12   consumers with business coaching to ensure they succeed. In the landing page
  13   video, Force says, “I promise you we won’t stop until you’ve earned your first six
  14   figures.”10 In another video, Force tells consumers that Digital Altitude will
  15   provide “private and personal one-on-one business coaching for you during your
  16   start-up phase and your set-up phase and your overall scaling and success phases.
  17   So we’re going to hand hold you through that entire process. We have a series of
  18   coaches all on standby to really help you get up the mountain, so to speak.”11 As
  19   explained below, Defendants do not keep these promises.
  20
  21     6
           See, e.g., EX 39, 1536.
         7
  22       An undercover FTC investigator joined Defendants’ program in January 2017,
       and documented Defendants’ misrepresentations to him. EX 41, 1593-1604.
  23     8
           EX 41, 2586.
  24     9
           On an un-advertised and hard-to-find website, Defendants display earnings data
  25   showing that most “active affiliates” make less than $100 per month. EX 39, 1368-
       73, EX 40, 1592. By “active affiliates,” Defendants likely mean consumers who
  26   pay a $17 monthly fee to be “eligible” to earn commissions. EX 33, 981. But many
       consumers quit without becoming “active affiliates.” See, e.g., EX 1, 2-3; EX 4, 63.
  27   Thus, the percentage of consumers who do not make money is likely far greater.
         10
  28        EX 41, 2588.
         11
            EX 41, 1709-10.

                                          3
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   1          To bolster their sales pitch, Defendants tell consumers that the “coaches” are
   2   experienced and knowledgeable, touting, as evidence, their alleged successful
   3   online marketing careers. For example, in the landing page video Force claims
   4   “[y]ou’ll be coached by a real internet millionaire.”12 In an email sent to
   5   consumers, Force claims “Your coach is a 6-Figure marketer. In fact, no one can be
   6   a coach in our business if they are not already making 6-Figures in their own
   7   online business.”13 These claims are not true; many of the “coaches” are not
   8   millionaires or six-figure marketers.14 In another video, Force claims “[o]ur
   9   coaches are highly trained online business experts.”15 This, too, is false.16
  10          The landing page features a number of testimonial videos from individuals
  11   who claim to have made money with Defendants’ program, and buttons for the
  12   consumer to click to begin Defendants’ program themselves.17 Defendants offer
  13   many consumers a 14-day trial that is either free or costs just one dollar.
  14                2.     The Expensive Fee Structure
  15          Defendants’ underlying membership program, called Aspire, requires
  16   payment of a recurring monthly fee. Defendants also use Aspire to refer to their
  17   program as a whole (“the Aspire program” or “the Aspire system”).
  18          In conjunction with the Aspire membership, Defendants induce consumers
  19   to purchase Digital Altitude’s levels, or tiers: Base, Rise, Ascend, Peak, and Apex.
  20   These levels’ fees are each a one-time payment. However, consumers must
  21
         12
  22        EX 41, 2595.
         13
            EX 41, 2606-08; see also EX 35, 1093-96 (Force controls content of email).
  23     14
            In a video consumers do not see until much later, Force admits that the “phone
  24   coaches” are a “sales team” working on commission. EX 41, 2252-53. He tells
       consumers, “you could do your own phone sales …. [in which case] the phone
  25   coach is actually you.” Id. Force makes no mention of any qualifications or
       training needed to become a “coach,” nor any need for consumers who do so to
  26   provide business coaching. Id.
         15
  27        Ex 41, 2626.
         16
  28        See supra note 14.
         17
            EX 39, 1322-33, 1356-64.

                                           4
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   1   continue to pay the monthly Aspire fee to remain an active member of Defendants’
   2   program, even after they buy these higher tiers. The prices for the higher tiers
   3   range from $597 for Base to $29,997 for Apex.18
   4          Most consumers are not initially aware that Defendants’ program will
   5   involve paying such sky-high prices. This is intentional—Defendants lure
   6   consumers in with their trial offer, and, once consumers are in the door, slowly
   7   begin inducing them to make increasingly costly payments.19 Like the proverbial
   8   frog in slowly heating water, many consumers realize what is happening far too
   9   late, when they have already invested numerous hours and dollars in the scheme.
  10                3.     The “Aspire” Steps and the First Upsell
  11          The Aspire system consists of a series of nineteen online “training” videos,
  12   called “steps,” a few PDF documents, and purported live training from a “coach.”20
  13   However, the videos—all narrated by Force—are in fact an elaborate sales tool
  14   designed to convince consumers to purchase the higher levels—a fact laid bare in
  15
  16
  17     18
            Digital Altitude changed its prices in August 2017, as follows:
  18
       Level               Price: 2015 - August 2017        Price: August 2017 - Present
  19   Aspire              $37, $67, or $127 per month      $47 or $97 per month
       Base                $597                             $597 (no change)
  20   Rise                $1,997                           $2,297
       Ascend              $9,997                           $9,997 (no change)
  21   Peak                $16,997                          $19,997
  22   Apex                $26,997                          $29,997
       EX 39, 1319. Certain consumers may pay more, likely due to transaction fees. EX
  23   12, 246 (3.5% “administration fee”). Some, oddly, have been charged fees for
  24   international transactions, although Defendants are based in the U.S. See EX 1, 2,
       9; EX 9, 132, 151; EX 11, 217, 226.
  25     19
            One salesperson admonished others to follow this strategy in an internal chat
       log: “After 9 years and millions spent in testing we have learned that when a
  26   customer is offered and informed of a 2k purchase first without being informed of
  27   the 2nd and 3rd upsell at exponentially higher prices the conversion rates increase
       drastically at ascend and Peak price points. This is greatly due to the psychological
  28   effects of making a 2k decision first.” EX 38, 1233.
         20
            See EX 41, 1593-1604, 1621-2608.

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   1   recent litigation over the rights to the videos’ content.21 And the “coaches” are
   2   really salespeople paid on commission.22
   3          Once consumers join Aspire, they are assigned a “Start Up coach.” Although
   4   consumers pay a recurring monthly fee for membership in the Aspire program, the
   5   “coaches” get paid only if the consumer purchases one of the flat-fee levels.23 The
   6   Start Up salesperson’s aim is to get the consumer to pay for Rise, at about $2,000.24
   7   The Aspire videos are a skillfully-packaged sales pitch designed to facilitate this
   8   sale, repeating the claims that consumers will earn substantial income, such as “six
   9   figures,” through the program. The Start Up salesperson unlocks (provides access
  10   to) the videos one or two at a time, checking in each time to be sure the consumer
  11   has viewed every video and is taking in the sales pitch. The videos lay out a case
  12   for making money online by driving traffic to a site selling expensive products
  13   (called “high ticket” or “top tier”)—not coincidentally the exact strategy Digital
  14   Altitude employs. The process culminates with the Step 6 video, which pointedly
  15   argues that the consumer should not attempt to start his or her own business, but
  16   should join Digital Altitude and earn commissions by marketing its products.25
  17
         21
            MOBE, Ltd. v. Digital Altitude, LLC, and Michael Force, No. 2:16-CV-5708
  18   (C.D. Cal.). A competitor claimed ownership of the videos’ content, and alleged
       that Digital Altitude and Force stole them. It sued because it views the video series
  19   as the “precursor to all of the revenue [it] generates.” EX 35, 1097. Force seems to
  20   have conceded the same, stating in a declaration that the videos are a form of
       “step-by-step onboarding,” a “marketing technique” that he has been using for 20
  21   years, that works by “deliver[ing] incremental information or education to its users
       through achieving milestones.” Id. at 1086-87. Force also refers to the Aspire
  22   videos as a “sales funnel,” which he explains is a “process for leading customers
       through when purchasing products.” Id. at 1075-77. The case settled in September
  23   2017; the terms of the settlement are not public at this time. Id. at 1127.
         22
  24        EX 38, 1189-94, 1230-34 (Defendants’ salespeople call customers “leads” and
       discuss how to maximize “upsells”); EX 41, 2250-53 (Force states “coaches” are
  25   salespeople); id. at 1593-1604; EX 7, 88; EX 8, 124; EX 10, 154-55; EX 14, 293.
         23
  26        Force concedes this in a later video. EX 41, 2250 (coaches are “working on
       pure commission”).
  27     24
            Rise now costs $2,297. See supra note 18. Defendants typically do not charge
  28   for Base, but include it with Rise. See EX 41, 1923.
         25
            EX 41, 1896-1941.

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   1          After the consumer watches the Step 6 video, the Start Up salesperson
   2   pitches the Rise level to the consumer.26 The sales pitch—for which the videos
   3   have prepped the consumer —is that purchasing Rise is the critical step that will
   4   allow the consumer to start earning significant income. Force explains in the
   5   videos that the way consumers make money with Digital Altitude is by recruiting
   6   new consumers to join, and collecting commissions on the new consumers’
   7   payments to Digital Altitude. But consumers learn they can only collect such
   8   commissions for sales of tiers that they themselves have already purchased.
   9   Because the commission is a percentage of the purchase price (either 20% or 40%),
  10   commissions for sales of Rise are dramatically higher than commissions for sales
  11   of Aspire memberships.27 This is the heart of the Rise sales pitch.
  12          Consumers who decline to purchase Rise are usually written off and ignored
  13   by their Start Up salesperson.28 Such consumers almost invariably do not make the
  14   significant income that Defendants advertise, and most make nothing at all.
  15                4.    The Relentless Upsell
  16          If consumers purchase Rise, they are handed off to a “Scale Up coach,” who,
  17   like the “Start Up coach,” is a salesperson paid on commission. The “Scale Up”
  18   salesperson communicates with consumers online via written chats and audio or
  19   video conferencing.29
  20
  21     26
            Because Defendants systematically use the videos as a sales tool in this
  22   manner, nearly all consumers watch all the videos up to Step 6 before purchasing
       any of Digital Altitude’s levels. Force has admitted that Digital Altitude acquires at
  23   least 90% of its customers through the Aspire system. EX 35, 1123-25.
         27
            20% of Rise’s $2000 price is $400, whereas 20% of even the highest Aspire
  24   monthly fee, $127, is only $25.40.
         28
  25        EX 4, 63; EX 38, 1188 (Digital Altitude salespeople talking about staying in
       contact with consumers only if they are trying to obtain funds to purchase Rise);
  26   Id. at 1235 (Digital Altitude salespeople discuss using “qualifying” questions to
       avoid spending time on consumers without money); Id. at 1196 (Digital Altitude
  27   salesperson requesting that a consumer’s account be cancelled because he’s a “17
  28   yo [sic] student with no money”).
         29
            EX 9, 132, EX 14, 292, 331-35; EX 41, 1600-04.

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   1          Like the Start Up salesperson, the Scale Up salesperson unlocks the
   2   remaining Aspire videos a few at a time, at each step checking in to ensure the
   3   consumer has watched the videos and is absorbing the sales pitch. In the videos,
   4   Force doubles down on the tactic that persuaded the consumer to purchase Rise:
   5   touting the even-higher commissions the consumer can earn on sales of even-more-
   6   expensive levels.30 For example, the Step 9 video is titled “How to Get $4500
   7   Commissions with No Extra Work”; the answer: buy the next tier, Ascend (the
   8   commission on one Ascend sale is purportedly $4,500). Indeed, the Step 9 and later
   9   videos illustrate their claims about consumers’ potential earnings with charts
  10   setting out the commissions consumers will supposedly earn if they purchase each
  11   of the successively higher, more expensive, levels.31 In the videos, Force reads off
  12   the charts’ figures, explicitly stating that consumers will make the substantial
  13   commissions listed in the charts if they purchase the relevant tier(s).32
  14          The Scale Up salesperson uses the videos to support sales pitches for the
  15   three higher, more expensive tiers: Ascend, Peak, and Apex. Once the consumer
  16   purchases as many levels as he or she is going to, the Scale Up salesperson often
  17   stops communicating with the consumer.33 Of the consumers who purchase one or
  18   more of these additional tiers, many still do not make substantial income, or even
  19   recoup their investment.
  20          If consumers are short on funds, salespeople tell them to borrow,34 often
  21     30
            The Ascend, Peak, and Apex levels purportedly also include tickets to a
  22   training retreat in a tropical or resort locale. The dates of these events are not
       provided to consumers before they purchase. EX 2, 22. One former Digital Altitude
  23   salesperson has testified that for at least some time, the promised retreats did not
  24   take place, which was one of the reasons he quit. EX 35, 1121-22.
         31
            Defendants compiled all such charts in a PDF. EX 41, 1598, 1972-2069.
  25     32
            EX 41, 2161 (“you’re making $30,000 a month”), 2186 (“you’re a little over
  26   $38,500 per month”).
         33
  27        EX 3, 56; EX 10, 154-55; EX 11, 219.
         34
            EX 1, 2; EX 2, 20; EX 9, 131; EX 10, 154-55. See also EX 39, 1474
  28   (Defendants’ website advocates draining retirement savings and home equity to
       make payments to Defendants).

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   1   offering to help consumers get a “loan” to finance the purchase of tiers that the
   2   consumers cannot afford.35 These are not really loans; they typically consist of
   3   multiple credit cards opened in the consumer’s name.36 This places consumers in a
   4   precarious financial position; they expect to be able to pay off this debt with their
   5   Digital Altitude earnings.37 That, of course, does not happen.
   6          At some point, many consumers realize they are not going to make money
   7   with Digital Altitude. Some consumer declarants tried to get refunds, but
   8   Defendants refused, saying the consumer had missed the 72-hour window for
   9   “buyer’s remorse.”38 Most consumers lose their entire investment.39 Many end up
  10   thousands of dollars in debt, with huge interest obligations, unable to dig
  11   themselves out of a financial pit.40 Others avoid incurring debt, but find they have
  12   lost their savings.41
  13                 5.        Defendants’ Falsehoods and Subterfuge to Evade Banks’
  14                           and Payment Processors’ Scrutiny
  15          Defendants accept a substantial portion of consumers’ payments via credit
  16   card, through merchant accounts they establish with banks and payment
  17   processors. Defendants’ fraudulent business model, however, has made this
  18   difficult. Many disgruntled consumers seek to recoup their credit card payments by
  19   filing disputes known as “chargebacks.” The resulting high rate of chargebacks—
  20
  21     35
            EX 1, 2; EX 2, 20; EX 5, 66; EX 9, 131; EX 10, 154; EX 12, 239.
  22     36
            EX 1, 2; EX 12, 239; EX 41, 1603-04, 1687-88.
  23     37
            See, e.g., EX 2, 21; EX 7, 89.
         38
  24        EX 7, 89; EX 11, 219; EX 12, 240; EX 14, 293. Many consumers have not
       heard of any 72-hour refund policy until they try to get a refund. Id. Consumers
  25   often mistakenly believe they have 14 days to cancel; many enter Digital Altitude
       through a free or one dollar 14-day trial. EX 14, 293.
  26     39
            See, e.g., EX 1, 3; EX 2, 23; EX 8, 124-25; EX 11, 219; EX 12, 241; see also
  27   EX 39, 1368-73, EX 40, 1592.
         40
  28        EX 1, 3-4; EX 8, 125; EX 11, 219; EX 12, 241.
         41
            EX 2, 23; EX 3, 57.

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   1   an indicator of fraud42—has led multiple processors to terminate Defendants’
   2   merchant accounts.43 Other processors have also cancelled Defendants’ accounts
   3   after concluding that Defendants’ business model is fraudulent or otherwise
   4   unsupportable.44 Between July 2016 and May 2017, payment processors closed ten
   5   of Defendants’ accounts for these reasons.45 And in March 2017, a bank placed
   6   Digital Altitude on the MasterCard Alert to Control High-Risk Merchants, or
   7   “MATCH,” list for “excessive fraud.”46 Placement on the MATCH list has made it
   8   extremely difficult for Digital Altitude to obtain new merchant accounts.
   9          Rather than reform the deceptive practices that caused payment processors
  10   to drop them, Defendants employed further subterfuge. They created new corporate
  11   entities and sought merchant accounts under the new entities’ names.47 Defendants’
  12   applications for these new accounts did not disclose that they were affiliated with
  13   or would be used to process payments for Digital Altitude.48 When processors
  14   opened the new accounts, unaware of their true purpose, Defendants used them to
  15   process consumers’ payments to Digital Altitude.49
  16          Defendants have also lied about Digital Altitude when seeking new
  17   merchant accounts in its name. In a February 2017 application, Defendants stated
  18   that “the business” had not previously had a merchant account terminated, even
  19     42
            See FTC v. Commerce Planet, Inc., 878 F. Supp. 2d 1048, 1075-76 (C.D. Cal.
  20   2012) aff’d in part, vacated in part, remanded, 815 F.3d 593 (9th Cir. 2016) (high
       chargeback rates are an indicator of fraud); FTC v. Grant Connect, LLC, 827 F.
  21   Supp. 2d 1199, 1222 (D. Nev. 2011) aff’d in part, vacated in part, 763 F.3d 1094
  22   (9th Cir. 2014) (same).
         43
            See Appendix I, summarizing Defendants’ merchant account history.
  23     44
            See id.
  24     45
            App. I.
         46
  25        EX 15, 343-44.
         47
  26        App. I.
         48
            See, e.g., EX 22, 651-66, 736-45; EX 34, 1007-23.
  27     49
            These include Aspire Processing accounts with Square and PayPal (see
  28   Appendix II), RISE accounts with Square and PayPal (see Appendix III), and a
       Disc account with PayPal (EX 34, 1012-14; EX 41, 1606-07).

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   1   though banks and payment processors had terminated at least ten accounts it had
   2   used, including seven in its name.50 Defendants have also misrepresented who
   3   owned Digital Altitude. In five separate applications, they variously stated that
   4   Mary Dee owned 51%, 60%, and 90% of the entity, even though, according to
   5   Defendant Force’s sworn testimony, Dee is not an owner of Digital Altitude at all.51
   6          B.    The Defendants
   7          Five key leaders of the fraudulent scheme are defendants Michael Force,
   8   Mary Dee, Morgan Johnson, Alan Moore, and Sean Brown (collectively, the
   9   “Individual Defendants”). Since 2015, they have executed the scheme through a
  10   number of closely held corporate entities, many created solely to facilitate
  11   consumers’ payments after payment processors began to terminate merchant
  12   accounts for Digital Altitude LLC.
  13                1.    The Corporate Defendants
  14          Digital Altitude LLC (“Digital Altitude”) is a Delaware limited liability
  15   company with a registered agent address of 16192 Coastal Highway, Lewes, DE
  16   19958—the office of a company that incorporates Delaware corporations and acts
  17   as their registered agent—and has maintained a principal place of business of 520
  18   Broadway, Santa Monica, CA 90401.
  19          Digital Altitude Limited (“Digital Altitude UK”) is a United Kingdom
  20   company that uses a mail forwarding company’s address of Third Floor, 207
  21   Regent Street, London, United Kingdom, W1B 3HH.
  22          Aspire Processing LLC (“Aspire Processing”) is a Nevada limited liability
  23   company with a registered agent address of 701 South Carson Street, Suite 200,
  24   Carson City, NV 89701.
  25          Aspire Processing Limited (“Aspire Processing UK”) is a United Kingdom
  26   company with a registered address of Address 2                  London, United
  27     50
          EX 23, 847-50; App. I.
  28     51
         App. I; EX 35, 1091-92. Whether or not Dee is an owner of Digital Altitude
       LLC, she is deeply involved with its fraud.

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   1   Kingdom,              , which appears to be a residence.
   2          Aspire Ventures Ltd (“Aspire Ventures”) is a United Kingdom company
   3   with the same registered business address as Aspire Processing UK: Address 2
   4                , London, United Kingdom,              .
   5          Disc Enterprises Inc. (“Disc”) is a Nevada corporation with a registered
   6   agent address of                        , Las Vegas, NV       .
   7          RISE Systems & Enterprise LLC (“RISE Utah”) is a Utah limited liability
   8   company with a registered business address of 1501 North Technology Way
   9   Building B, Orem, UT 84121.
  10          RISE Systems & Enterprise LLC (“RISE Nevada”) is a Nevada limited
  11   liability company with a registered agent address of 701 South Carson Street, Suite
  12   200, Carson City, NV 89701.
  13          Soar International Limited Liability Company (“Soar”) is a Utah limited
  14   liability company with a registered business address of 1426 E 750 N 1st Floor,
  15   Orem, UT 84097.
  16          The Upside, LLC (“Upside”) is a California limited liability company with
  17   a business address of 340 South Lemon Avenue, Walnut, CA 91789—a mail
  18   forwarding company with which Digital Altitude has an account.
  19          Thermography for Life, LLC, also d/b/a Living Exceptionally, Inc.
  20   (“Thermography”) is a Texas limited liability company with a business address of
  21   6340 Lake Worth Boulevard #103, Fort Worth, TX 76135—a mail drop with a mail
  22   forwarding service.
  23          Corporate Defendants operate as a common enterprise,52 with shared
  24   ownership,53 addresses, phone numbers, and websites,54 and intermingled
  25
  26     52
           See II.B.1.b., infra.
  27     53
           Each of the Individual Defendants is an officer, manager, or signatory for
  28   multiple Corporate Defendants. See infra § I.B.2.
        54
           Appendix IV (summarizing evidence of common enterprise).

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   1   finances.55 Corporate Defendants are all controlled by Michael Force and the other
   2   Individual Defendants, directly or indirectly, and share a common business
   3   purpose: to carry out the scheme.
   4                2.     The Individual Defendants
   5          Michael Force (“Force”) is the founder, owner, and CEO of Digital
   6   Altitude,56 the sole shareholder of Digital Altitude UK, and a member and manager
   7   of Soar. Force created Digital Altitude and is the ringleader of the scam, which the
   8   other individual defendants participate in and perpetuate. Force personally makes
   9   the key misrepresentations in the videos that are the core of Digital Altitude’s sales
  10   pitch. He also knew they were false; for example, he registered the obscure website
  11   on which Defendants publish earnings data showing that most consumers make
  12   little or no income.57 In addition, at least one payment processor informed Force it
  13   was terminating a Digital Altitude merchant account because of “a pattern of
  14   transactions associated with high-risk activity.”58 Force has also opened bank and
  15   merchant accounts for Digital Altitude that it used to accept payments from
  16   consumers and pay out commissions to them.59 He must know what these accounts’
  17   transactions show: most consumers do not make money.
  18
         55
            Id. Principals of the Corporate Defendants have used the companies
  19   interchangeably on merchant account applications, and Corporate Defendants have
  20   made and accepted payments on each others’ behalf. Id. And Aspire Processing,
       RISE Nevada, and RISE Utah appear to have been created solely to open merchant
  21   accounts to process consumers’ payments to the scheme. See App. I, II & III.
         56
  22        Force has variously claimed to be the sole owner, or co-owner with Defendant
       Dee, or with his wife Dalila. EX 33, 990-94; EX 31, 939-40; supra note 51. In any
  23   event, Force controls the company. EX 35, 1091-92.
         57
            EX 39, 1368-80, EX 40, 1592.
  24     58
            EX 22, 711. Shortly thereafter, that payment processor terminated three more
  25   of Defendants’ merchant accounts, in the names of Living Exceptionally, Inc.,
       Aspire Processing LLC, and Rise Systems and Enterprise LLC, again informing
  26   Defendants that these accounts were associated with “high risk activity.” Id. at 668
       (Aspire), 750 (RISE), 812-828 (Living Exceptionally).
  27     59
            EX 16, 357, 360, 396, 503, 533, 556, (Chase); EX 17, 561, 583-603 (Bank of
  28   America); EX 22, 670 (Square); EX 24, 855-58 (EMS); EX 25, 890-91
       (PowerPay); see also EX 38, 1226 (Force discussing merchant accounts’ status).

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   1          Mary Dee (“Dee”) is the Chief Operating Officer of Digital Altitude and, by
   2   her own testimony, “oversee[s] all daily operations of Digital Altitude” and has
   3   “direct knowledge of all [its] business transactions.”60 She is a director of Digital
   4   Altitude UK, a member and manager of Aspire Processing, RISE Nevada, and
   5   Upside, and a manager of Thermography.61 Dee is the sole owner of Aspire
   6   Processing and Aspire Processing UK.62 Her roles and her own admissions show
   7   she participated in and had knowledge of Digital Altitude’s fraud.
   8          Dee also opened and managed numerous merchant and bank accounts in the
   9   names of entities other than Digital Altitude, which—she had to know—were used
  10   to process consumers’ payments to Digital Altitude, or to hold money for Digital
  11   Altitude.63 Dee knowingly and falsely claimed, in merchant account applications,
  12   that neither Aspire Processing nor Digital Altitude had ever had a merchant
  13   account terminated.64 Her participation in the deception of banks and payment
  14   processors shows she knew the operation was unlawful.
  15          Dee also knew of red flags, including that payment processors closed Digital
  16   Altitude’s accounts because of its high risk activity.65 She could not, in good faith,
  17   have been ignorant of the scheme’s fraudulent nature.
  18          Morgan Johnson (“Johnson”) is Digital Altitude’s Finance Officer and a
  19   member and manager of RISE Nevada. Johnson is intimately involved in both
  20   paying out commissions and facilitating consumers’ payments to Digital Altitude
  21   through payment processors, including communicating directly with payment
  22
         60
  23        EX 36, 1129. In payment processing applications, Dee has claimed to be part
       owner of Digital Altitude, sometimes a majority owner. See, e.g., EX 31, 939-41.
  24     61
            EX 41, 2643-45, 2696-98, 2725-26, 2734-57.
         62
  25        Id. at 2643-57.
         63
  26        EX 16, 361-63 (Aspire), 364, 535 & 538 (Thermography), 505-10 (Disc), 521-
       23 (RISE); EX 24, 860, 865-66; EX 34, 1007-09; see also App. II & III. She has
  27   also applied for merchant accounts for Digital Altitude. App. I.
         64
  28        EX 23, 847-50; EX 24, 865; App. I (showing prior terminations).
         65
            Id.

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   1   processors.66 She must know that most consumers who join Digital Altitude are
   2   paid little or nothing in commissions, not the advertised substantial earnings.
   3          Johnson also has joint control, with other Individual Defendants, of several
   4   bank accounts in Corporate Defendants’ names.67 The accounts were used to funnel
   5   consumers’ payments to Digital Altitude, avoiding payment processors’ scrutiny.68
   6   Johnson also opened a merchant account in the name of one of the RISE entities
   7   that accepted consumers’ payments to Digital Altitude.69
   8          Johnson knew about red flags, including that Digital Altitude’s merchant
   9   accounts “keep getting shut down.”70 She communicated with at least one payment
  10   processor about consumer chargebacks and knew the account was shut down for “a
  11   pattern of transactions associated with high-risk activity.”71 She could not, in good
  12   faith, have been ignorant of the scheme’s fraudulent nature.
  13          Alan Moore (“Moore”) is Digital Altitude’s Chief Technology Officer and
  14   secretary of Aspire Processing UK.72 Moore is responsible for payment processing
  15   technological issues, including fixing technical problems salespeople experienced
  16   while submitting consumers’ payments for processing.73
  17          Moore participated in deceiving banks and payment processors on Digital
  18     66
            EX 38, 1212-13, 1217 (Johnson explains details of merchant accounts and
  19   anticipated commissions payments),1222-25, (Johnson has direct visibility into all
       payments to Digital Altitude), 1207-08 (same), 1209 (Johnson tells “coaches,”
  20   “You can now use the regular pay links to process payments and don’t have to go
       through Payza.”), 1210-11 (similar), 1236 (“Morgan is working on other options,
  21   but for now, [Payza] is what we have to use.”), 1237 (“Morgan single handedly got
  22   these 2 merchants up literally a day apart of each other.”), 1220-21 (“Morgan is the
       payroll contact” for commissions), 1204-05 (copy of an email Johnson sent to
  23   “coaches” regarding when commissions would be paid).
         67
            EX 16, 361-63 (Aspire Processing), 505-10 (Disc), 521-23 (RISE).
  24     68
            App. II & III; EX 34, 1012-14; EX 41, 1606-07.
  25     69
            See App. III.
  26     70
            EX 38, 1212-13.
         71
  27        EX 22, 750-51.
         72
  28        EX 41, 2299, 2646-48.
         73
            EX 38, 1195, 1197-1202, 1206, 1214-16, 1218-19, 1227, 1229.

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   1   Altitude’s behalf. In January 2017, after at least ten of Digital Altitude’s merchant
   2   accounts had been terminated, Moore set up two dummy websites in the names of
   3   two companies seemingly unrelated to Digital Altitude, solely to obtain merchant
   4   accounts in those companies’ names that could be used to facilitate consumers’
   5   payments to Digital Altitude.74 Moore registered the sites’ domain names and, on
   6   Digital Altitude’s behalf, contracted for hosting and payment functionality for the
   7   sites.75 The dummy sites feature product names that differ from Digital Altitude’s
   8   products and lack substantive descriptions.76 Importantly, the dummy sites do not
   9   make the earnings claims included in Digital Altitude’s sales sites. They also
  10   contain clear statements that purchasers have 72 hours in which to seek a refund,
  11   unlike Digital Altitude’s sales sites. The dummy sites are Potemkin villages,
  12   designed to camouflage any connection to Digital Altitude and trick banks and
  13   payment processors into re-opening Defendants’ access to the card payment
  14   network. Moore’s actions show he knew exactly what the sites were to be used for:
  15   when a payment processor declined to open a merchant account for one of the two
  16   companies, Moore immediately closed down the associated dummy website’s
  17   payment functionality.77 Moore’s intimate involvement in deceiving banks and
  18   payment processors shows, at the very least, that he knew the operation was not
  19   legitimate. He could not, in good faith, have been ignorant of the scheme’s
  20   fraudulent nature.
  21          Sean Brown (“Brown”) is the sole principal of RISE Utah and an officer of
  22   Aspire Processing.78 He is an attorney who has represented Digital Altitude.79 He
  23     74
            App. I; EX 18, 614-15; EX 19, 618; EX 22, 713, 716, 744-45.
  24     75
            EX 18, 614-15; EX 19, 618.
  25     76
            EX 39, 1476-96.
         77
  26        EX 19, 618; EX 22, 713-15.
         78
  27        EX 41, 2643-45, 2727-33.
         79
            See EX 35, 1081-84. Brown is named as a defendant because, since at least
  28   June 2016, he did not have an arms-length attorney-client relationship with Digital
       Altitude but was deeply involved in the scam.

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   1   claims to be on Digital Altitude’s board of directors.80 Brown communicated with
   2   at least one payment processor on Digital Altitude’s behalf, attesting to the
   3   legitimacy of its business model.81 Brown’s official roles with these Corporate
   4   Defendants, and his own statements, evidence his control and knowledge of the
   5   common enterprise’s activity, and thus knowledge of its fraudulent nature.
   6          In addition, Brown has participated in deceiving banks to keep channels of
   7   funds open to Digital Altitude. He opened a bank account for RISE Utah to funnel
   8   over $500,000 in consumer payments to Digital Altitude through merchant
   9   accounts in RISE’s name.82 On the same days as such funds were received from
  10   RISE’s merchant accounts, they were transferred to a Digital Altitude bank
  11   account.83 Brown also opened a bank account for Aspire Processing using Digital
  12   Altitude’s employer identification number (EIN).84 That bank account was used
  13   solely to open a PayPal account in the name of Aspire Processing that, in turn, was
  14   used to process over $300,000 in consumer payments to Digital Altitude, which
  15   funds were transferred directly from PayPal to a Digital Altitude bank account.85
  16   Brown’s participation in deceiving banks and payment processors shows, at the
  17   very least, that he knew the operation was not legitimate. He could not, in good
  18   faith, have been ignorant of the scheme’s fraudulent nature.
  19          C.    Consumer Injury
  20          Defendants have taken in over $32 million, as of March 22, 2017. More than
  21   50 consumers victimized by this scam complained to the FTC, with many reporting
  22
  23     80
            EX 35, 1081-84. However, Force has testified there is no board of directors. Id.
  24   at 1092. Regardless, Brown’s statement concedes he holds a high position with the
       enterprise, entailing knowledge of and responsibility for its activities.
  25     81
            EX 33, 989.
  26     82
            App. III. These include merchant accounts with Square and PayPal. Id.
         83
  27        Id.
         84
  28        Compare EX 16, 361 with id. at 503.
         85
            App. II.

                                          17
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   1   losses of over $2,000.86 Some lost $10,000 or more, and some lost $30,000 or
   2   more.87 Defendants’ own earnings disclosure confirms that the vast majority of
   3   consumers who buy into Defendants’ system do not earn the substantial income
   4   that Defendants advertise, and most make little or nothing at all.88 Based on bank
   5   records, payment processor statements, Defendants’ own financial statements, and
   6   an expert report that Digital Altitude and Michael Force submitted in other
   7   litigation, the FTC estimates that Defendants have defrauded consumers of more
   8   than $14 million through 2016.89
   9   III.   Argument
  10          A.    The FTC Act Authorizes the Requested Relief
  11          Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), gives the Court authority to
  12   issue an injunction against violation of any provisions of law enforced by the FTC
  13   and “any ancillary relief necessary to accomplish complete justice.” FTC v.
  14   Commerce Planet, Inc., 815 F.3d 593, 598 (9th Cir. 2016) (quoting FTC v. Pantron
  15   I Corp., 33 F.3d 1088, 1102 (9th Cir. 1994)). This ancillary relief can include,
  16   among other remedies, an ex parte TRO, a preliminary injunction, an asset freeze,
  17   and the appointment of a receiver. See, e.g., FTC v. Affordable Media, LLC, 179
  18   F.3d 1228, 1232 & n.2 (9th Cir. 1999) (TRO and preliminary injunction, both
  19   including asset freeze); FTC v. Am. Nat’l Cellular, Inc., 810 F.2d 1511, 1512 (9th
  20   Cir. 1987) (TRO and preliminary injunction including asset freeze and appointment
  21   of a receiver). Courts in this District have repeatedly granted preliminary relief
  22   similar to that sought here, under Section 13(b).90
  23
  24     86
            EX 41, 1609. “Consumer complaints are highly probative of whether a practice
  25   is deceptive . . . .” FTC v. Willms, No. 2:11-CV-0828, 2011 WL 4103542, *5
       (W.D. Wash. Sept. 13, 2011).
  26     87
            EX 41, 1609.
         88
  27        Id.; see also EX 39, 1368-73, EX 40, 1592.
         89
  28        See supra, note 3.
         90
            See supra, note 4 (collecting cases).

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   1         In determining whether to grant preliminary relief under Section 13(b), the
   2   Court must consider two factors: (1) the FTC’s likelihood of ultimate success, and
   3   (2) whether the public equities outweigh any private equities. Affordable Media,
   4   179 F.3d at 1233. Unlike private litigants, the FTC does not need to prove
   5   irreparable injury. FTC v. World Wide Factors, Ltd., 882 F.2d 344, 347 (9th Cir.
   6   1989); FTC v. Warner Communications Inc., 742 F.2d 1156, 1159 (9th Cir. 1984);
   7   see also FTC v. Wealth Educators, Inc., No. 2:15-CV-2357, 2015 WL 11439063, at
   8   *5 (C.D. Cal. Apr. 6, 2015) (FTC faces “more lenient standard” than private
   9   litigants). Because irreparable injury is presumed, the burden of establishing
  10   success on the merits is decreased, and the Court “need only . . . find some chance
  11   of probable success on the merits” in order to award preliminary relief. World Wide
  12   Factors, 882 F.2d at 347 (quoting United States v. Odessa Union Warehouse Co-
  13   op, 833 F.2d 172, 176 (9th Cir. 1987)). Moreover, when weighing the equities, the
  14   public interest should receive greater weight than private interests. Id.
  15         B.     A Temporary Restraining Order is Appropriate and Necessary
  16         The evidence shows that the FTC is likely to succeed on its claims that
  17   Defendants have violated the FTC Act and the equities weigh heavily in favor of
  18   the requested preliminary relief.
  19                1.     The FTC Is Likely to Succeed on the Merits
  20                       a.     Defendants Have Violated Section 5 of the FTC Act
  21         Section 5 of the FTC Act empowers the FTC to prevent “deceptive acts or
  22   practices in or affecting commerce.” 15 U.S.C. § 45(a). “An act or practice is
  23   deceptive if first, there is a representation, omission, or practice that, second, is
  24   likely to mislead consumers acting reasonably under the circumstances, and third,
  25   the representation, omission, or practice is material.” FTC v. Stefanchik, 559 F.3d
  26   924, 928 (9th Cir. 2009) (quoting FTC v. Gill, 265 F.3d 944, 950 (9th Cir. 2001)). A
  27   misrepresentation may be either express or implied. FTC v. Figgie Int’l, 994 F.2d
  28   595, 604 (9th Cir. 1993). A representation is likely to mislead consumers if (1) the


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   1   express or implied message conveyed is false, or (2) the maker of the
   2   representation lacked a reasonable basis for asserting that the message was true.
   3   Pantron I, 33 F.3d at 1096. See also FTC v. Lights of America, Inc., No. 8:10-CV-
   4   1333, 2013 WL 5230681, at *40 (C.D. Cal. Sept. 17, 2013) (holding defendants
   5   liable for claims made without adequate substantiation). Where the maker lacks
   6   adequate substantiation evidence, the maker necessarily lacks any reasonable basis
   7   for its claims. FTC v. Direct Mktg. Concepts, Inc., 624 F.3d 1, 8 (1st Cir. 2010).
   8          In determining whether a representation is likely to mislead consumers,
   9   courts consider the overall “net impression” it creates. Stefanchik, 559 F.3d at
  10   928.91 Claims of “potential” or “projected” earnings or rewards imply that such
  11   earnings are representative of what many consumers have achieved. See FTC v.
  12   Five-Star Auto Club, Inc., 97 F. Supp. 2d 502, 528 (S.D.N.Y. 2000).
  13          A representation, omission, or practice is material if it “involves information
  14   that is important to consumers and, hence, likely to affect their choice of, or
  15   conduct regarding, a product.” FTC v. Cyberspace.com, LLC, 453 F.3d 1196, 1201
  16   (9th Cir. 2006) (quoting In re Cliffdale Assocs., 103 F.T.C. 110, 165, 1984 WL
  17   565319 (F.T.C. 1984)). If consumers are likely to have chosen differently but for
  18   the deception, then a misrepresentation is material. FTC v. Southwest Sunsites, Inc.,
  19   105 F.T.C. 7, 99-101, aff’d, 785 F.2d 1431 (9th Cir. 1986). Express claims are
  20   presumed to be material, as are claims that go to the central characteristics of a
  21   product or service. Pantron I Corp., 33 F.3d at 1095-96; Lights of Am., 2013 WL
  22   5230681, at *41. Consumer reliance is presumed if defendants made material
  23   misrepresentations that were widely disseminated, and consumers purchased the
  24   defendant’s product. Figgie Int’l, 994 F.2d at 605-6.
  25          The FTC is likely to prevail on Count I of the Complaint, which alleges that
  26   Defendants have violated Section 5 by misrepresenting the amount of income
  27     91
           “A solicitation may be likely to mislead by virtue of the net impression it
  28   creates even though the solicitation also contains truthful disclosures.” FTC v.
       Cyberspace.com, LLC, 453 F.3d 1196, 1200 (9th Cir. 2006).

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   1   consumers are likely to earn with Defendants’ program. As shown above,
   2   Defendants falsely tell consumers that they can expect to earn substantial returns
   3   by buying into Defendants’ program—including Force’s claim, in the Aspire
   4   videos, that consumers can make “6 figures in 90 days or less.” In reality, most
   5   consumers make little or no money and do not even recoup their investment.
   6   Indeed, Defendants’ own earnings disclosure (un-advertised and buried on a hard-
   7   to-find website) concedes that most consumers do not make substantial income.92
   8   Defendants’ representation that consumers are likely to earn substantial income
   9   through Defendants’ “program” is false or unsubstantiated. Such false earnings
  10   claims are both likely to deceive and material.93
  11          The FTC is also likely to prevail on Count II of the complaint, which alleges
  12   that Defendants made misrepresentations regarding the goods and services they
  13   sell to consumers, specifically that consumers would receive business coaching
  14   from coaches that would provide what the consumer needs to build a successful
  15   business. As shown above, to persuade consumers to sign up, Defendants tell them
  16   that they will receive training from a coach who is experienced and
  17   knowledgeable, and whose coaching will ensure the consumer’s success. But the
  18   “coaches” are merely salespeople paid on commission, Defendants’ claims about
  19   their background and training are untrue, and the “coaching” provided is merely an
  20   extended sales pitch and does not yield a successful business for most
  21   consumers—rather, most consumers who join Defendants’ program lose money.94
  22
         92
  23        EX 39, 1368-73, EX 40, 1592.
         93
  24        “Courts consistently conclude that misrepresentations regarding income
       potential are material …. [and] deceptive under the FTC Act.” FTC v. Vemma
  25   Nutrition Co., No. 2:15-CV-1578, 2015 WL 11118111, *5 (D. Ariz. Sept. 18, 2015)
       (citing Five-Star Auto, 97 F. Supp. 2d at 528-29 & 532-33); see also FTC v. Kitco
  26   of Nevada, Inc., 612 F. Supp. 1282, 1292 (D. Minn. 1985) (“exaggerated profit and
       earning prediction cut to the core of the customer’s decision to invest”); FTC v.
  27   Sage Seminars, No. 4:95-CV-2854, 1995 WL 798938, *3-5 (N.D. Cal. Nov. 2,
  28   1995) (misrepresentations about potential earnings were material).
         94
            See supra § I.A.

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   1   Consumers do not receive the product they thought they had purchased.95
   2   Defendants’ false claims are presumed material for two independent reasons: they
   3   are express and they go to the central characteristics of the product.96
   4                       b.    The Corporate Defendants Are Subject to Joint and
   5                             Several Liability as a Common Enterprise
   6          The Corporate Defendants have operated as a common enterprise and thus
   7   “each may be held liable for the deceptive acts and practices of the others.” FTC v.
   8   Grant Connect, LLC, 763 F.3d 1094, 1105 (9th Cir. 2014) (citing FTC v. Network
   9   Servs. Depot, Inc., 617 F.3d 1127, 1143 (9th Cir. 2010) (shared resources, staff,
  10   funds, ownership and management)); see also FTC v. J.K. Publ’ns, Inc., 99 F.
  11   Supp. 2d 1176, 1202 (C.D. Cal. 2000) (“maze of interrelated companies”).97 As
  12   shown in Section II.B.1, above, the Corporate Defendants share ownership,
  13   addresses, phone numbers, and websites; they intermingle finances, and operate for
  14   a common, singular purpose: executing the scam at issue here. Each of the
  15   Corporate Defendants is therefore liable for the total injury caused by the scam.
  16                       c.    The Individual Defendants Are Personally Liable
  17          The Individual Defendants are liable for injunctive and monetary relief
  18   because they directly participated in the Digital Altitude scheme, had control over
  19   it, and knew of the deception.98 As shown in Section II.B, above, the Individual
  20
         95
  21        See, e.g., EX 7, 89; EX 10, 154-55; EX 12, 241. The high chargeback rate
       further evidences consumer dissatisfaction—and Defendants’ deception. FTC v.
  22   Ideal Fin. Sols., Inc., No. 2:13-CV-0143, 2015 WL 4032103, at *7 (D. Nev. 2015)
       (deception “may be inferred from . . . ‘high . . .chargeback rates’”) (quoting FTC v.
  23   Grant Connect, LLC, 827 F. Supp. 2d 1199, 1221 (D. Nev. 2011)).
         96
  24        See Pantron I, 33 F.3d at 1095-96; Lights of Am., 2013 WL 5230681, at *41.
         97
            Courts weighing a claim of common enterprise consider non-exclusive factors
  25   such as whether the companies were under common ownership and control;
  26   whether they pooled resources and staff; whether they shared marketing and phone
       numbers; and whether they jointly participated in a common venture in which they
  27   benefited from a shared business scheme. Network Servs., 617 F.3d at 1136, n.6
       and 1143.
  28     98
            An individual defendant is liable (1) for injunctive relief if he directly
       participated in the unlawful acts or had some control over the acts, and (2) for

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   1   Defendants are officers and owners of the Corporate Defendants through which
   2   they execute the scam, and so should be held to have control and knowledge of the
   3   scheme’s fraudulent activity.99 And as shown in Section III.F, the Individual
   4   Defendants control and participate in the unlawful acts, and have actual or
   5   constructive knowledge that they are unlawful.100 They are therefore personally
   6   liable, jointly and severally, for the total injury caused by their scam. Commerce
   7   Planet, 815 F.3d at 600.
   8                2.     The Equities Tip Decidedly in the Public’s Favor
   9         “[W]hen a district court balances the hardships of the public interest against
  10   a private interest, the public interest should receive greater weight.” Affordable
  11   Media, 179 F.3d at 1236 (quoting World Wide Factors, 882 F.2d at 347). The
  12   public interest in this case is compelling—halting unlawful and injurious conduct
  13
       monetary relief if he also possessed actual or constructive knowledge of the
  14   unlawful acts. Network Servs., 617 F.3d at 1138-39; FTC v. Publ’g Clearing
  15   House, 104 F.3d 1168, 1170-71 (9th Cir. 1997).
         99
            “Status as a corporate officer is sufficient to establish individual liability.” FTC
  16   v. John Beck Amazing Profits, LLC, 865 F. Supp. 2d 1052, 1080 (C.D. Cal. 2012)
       (granting summary judgment for FTC) (citing FTC v. Amy Travel Service, Inc., 875
  17   F.2d 564, 573 (7th Cir. 1989)), aff’d, 644 Fed. Appx. 709 (9th Cir. 2016); J.K.
  18   Publ’ns, 99 F. Supp. 2d at 1204 (“[S]tatus as a corporate officer and authority to
       sign documents on behalf of the corporate defendant can be sufficient to
  19   demonstrate the requisite control.”); FTC v. Am. Standard Credit Sys., 874 F. Supp.
       1080, 1089 (C.D. Cal. 1994) (“Authority to control the company can be evidenced
  20   by active involvement in business affairs and the making of corporate policy,
       including assuming the duties of a corporate officer.”).
  21     100
             The knowledge element is satisfied if the individual was recklessly indifferent
  22   to the possibility the business was fraudulent, or was aware of a high probability
       that the business was engaged in fraud and intentionally avoided learning the truth.
  23   Network Servs., 617 F.3d at 1138-39. A showing that an individual has willfully
       ignored warning signs can meet this standard. Id. at 1141 (finding reckless
  24   indifference for ignoring “numerous warning signs” including “multiple customer
       complaints” and “suspicious financial practices”). A need to open new merchant
  25   accounts under new names is one such warning sign. J.K. Publ’ns, 99 F. Supp. 2d
  26   at 1204-07 (individual who opened new merchant accounts for business under
       circumstances that should have prompted investigation held to be recklessly
  27   indifferent). Participation in a scheme with high chargeback rates can also
       constitute evidence of knowledge. Grant Connect, 763 F.3d at 1102. Similarly,
  28   “awareness of consumer complaints is sufficient to establish” knowledge. Lights of
       Am., 2013 WL 5230681, at *50.

                                           23
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   1   and preserving assets for restitution to injured consumers. Defendants, by contrast,
   2   have no legitimate interest in continuing their scam.101 Based on the evidence
   3   before the Court, the FTC is likely to succeed on the merits, and the equities tip
   4   decidedly in the public’s favor. Thus, a TRO is warranted.
   5           C.    The Proposed Ex Parte TRO Is Appropriate
   6           The FTC has filed this action to stop the Defendants’ unlawful conduct and
   7   to obtain restitution for their victims. If Defendants receive advance warning of the
   8   FTC’s action, they are likely to dissipate assets or destroy evidence, which will
   9   frustrate the Court’s ability to grant relief.102
  10           Digital Altitude’s business is riddled with fraud. Not only is it premised on a
  11   lie about the essence of its product—the income consumers will likely earn—but
  12   Defendants have repeatedly lied to financial institutions to perpetuate this
  13   fraudulent scheme. Defendants have lied on bank and payment processor
  14   applications so they could continue defrauding consumers after their conduct
  15   aroused suspicions.103 They have created new corporate entities to obtain new
  16   merchant accounts in order to process consumers’ payments to Digital Altitude,
  17   scrupulously hiding this fact from the payment processors who issue the
  18   accounts.104 They have created dummy websites to evade payment processors’
  19   fraud detection programs.105 They have even used their spouses’ names to open
  20   accounts.106 Defendants also have created new, seemingly unrelated websites to
  21   attract consumers to their scheme and to thwart consumers’ ability to perform their
  22
         101
  23         See World Wide Factors, 882 F.2d at 347 (“no oppressive hardship to
       defendants in requiring them to comply with the FTC Act, refrain from fraudulent
  24   representation or preserve their assets from dissipation or concealment”) (quotation
       marks omitted).
  25     102
             See Certification and Declaration of Counsel, filed herewith.
  26     103
             See supra §I.A.5.
         104
  27         Id.
         105
  28         Id.
         106
             EX 22, 632; EX 34, 1012.

                                            24
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   1   own research on Defendants’ purported moneymaking opportunity.107 They process
   2   some consumers’ payments through a Mexican bank.108
   3           Defendant Force, the architect of the scheme, has been involved in online
   4   get-rich-quick operations for years. As early as September 2009, he was
   5   advertising on his personal website that he and his partners were “some of the best
   6   in the world” at building a “successful online business” and that he could advise
   7   consumers on how to “make ads FTC compliant”; he also warned his audience on
   8   avoiding “the attention of the good-ol’ boys at the FTC.”109 And, he has reportedly
   9   bragged that he is “judgment-proof” because he has hidden his assets.110
  10           To preserve the possibility of effective final relief, including restitution to
  11   the consumers who have collectively lost millions of dollars to Defendants’ fraud,
  12   the proposed ex parte TRO would: (1) freeze the Individual and Corporate
  13   Defendants’ assets;111 (2) appoint a temporary receiver over the Corporate
  14   Defendants; (3) grant the FTC and the temporary receiver immediate access to
  15   Defendants’ business premises; and (4) provide for limited expedited discovery.112
  16
  17     107
             EX 14, 291; EX 39, 1533.
         108
  18         EX 1, 2; EX 14, 292; EX 41, 1600.
         109
  19         EX 39, 1570. Two consumers filed complaints with the FTC against Force for
       these prior schemes. EX 41, 1609, 2637-2642. Force also failed to defend a lawsuit
  20   brought against him by one of his prior associates in these schemes. EX 37, 1185.
         110
             Force’s one-time colleague, Matthew Lloyd, declared:
  21
           Force has stated to me that he is judgment proof. For example, below is an
  22       excerpt from an email I received from Force:
  23          I’d be happy to be done with you and this conversation. Fwd to your
              shady lawyer…could care less as they are the biggest liars on earth.
  24          Waste of time as there is nothing you can get from me. Have multiple
              citizenships, have no registered companies in the U.S. and hold no
  25          assets in the U.S. Good luck.
  26     EX 38, 1073-74.
         111
             As the FTC is likely to succeed in showing that the Individual Defendants are
  27   personally liable, an asset freeze should issue against them as well as the Corporate
  28   Defendants. See supra, note 4 (collecting cases issuing and affirming such relief).
         112
             The Ninth Circuit has repeatedly upheld such relief. See, e.g., supra note 4.

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   1            Appointing a temporary receiver is critical. Where corporate defendants and
   2   their managers and officers have engaged in deception, “it is likely that, in the
   3   absence of the appointment of a receiver to maintain the status quo, the corporate
   4   assets will be subject to diversion and waste to the detriment of” consumers
   5   victimized by the fraud. SEC v. First Fin. Group, 645 F.2d 429, 438 (5th Cir.
   6   1981); see also Canada Life Ins. Co. v. LaPeter, 563 F. 3d 837, 845 (9th Cir. 2009)
   7   (receiver appropriate to avert “danger of substantial waste and risk of loss”); SEC
   8   v. Presto Telecomm., Inc., 153 Fed. Appx. 428, 430 (9th Cir. 2005) (receiver
   9   “necessary to prevent further dissipation of [defendant’s] assets and to protect the
  10   interests of its investors”). The receiver will help ensure that the Corporate
  11   Defendants do not dissipate their ill-gotten gains by identifying and securing their
  12   assets and records; he may also help determine the full extent of the fraud and
  13   identify victims.113
  14            Finally, Defendants’ actions betray a deep disregard for the law—
  15   particularly as to their financial affairs—suggesting they may well seek to conceal
  16   assets or destroy evidence if forewarned.114 Accordingly, the FTC requests that this
  17   Motion be filed under seal and that a TRO be issued without prior notice to
  18   Defendants, and that the FTC and the temporary receiver be granted immediate
  19   access to the business premises, to prevent Defendants from moving, destroying or
  20   secreting evidence, and dissipating or concealing assets.
  21   IV.      Conclusion
  22            For all the foregoing reasons, the FTC respectfully requests that the Court
  23   grant this Motion, issue the proposed TRO, and require Defendants to show cause
  24   why a preliminary injunction should not issue against them.
  25
  26
  27
         113
  28           See id.
         114
               See supra §I.A.5.

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  Digital Altitude Payment Processing History & Statements of Company Ownership
                                                                   Corporate Name on        Payment     Record
 Date                            Event
                                                                   Merchant Account        Processor    Citation
          Digital Altitude LLC's merchant account is terminated
7/25/16                                                             Digital Altitude LLC    Square     EX 22, 842
          by Square because the account posed a "credit risk."

          Digital Altitude LLC's merchant account is terminated
 8/1/16     by WePay because of “a consistent month-over-           Digital Altitude LLC    WePay      EX 30, 934
               month increase in chargeback percentage.”
             Rise Systems & Enterprise LLC is registered in
                                                                     RISE Systems &                      EX 41,
 8/2/16     Nevada, with Mary Dee and Morgan Johnson as
                                                                      Enterprise LLC                    2725-26
                              managers.
               Morgan Johnson opens a RISE Systems &                 RISE Systems &                    EX 22, 716,
 8/2/16                                                                                     Square
             Enterprise LLC merchant account with Square.             Enterprise LLC                      842
          Rise Systems & Enterprise LLC is registered in Utah        RISE Systems &                      EX 41,
 8/4/16
                   with Sean Brown as sole manager.                   Enterprise LLC                    2727-30

           Digital Altitude LLC merchant account is frozen by                                EVO/      EX 25, 887-
 8/8/16                                                             Digital Altitude LLC
                    EVO due to "excessive declines."                                       PowerPay        88

           Aspire Processing LLC is registered in Nevada with                                            EX 41,
8/14/16                                                            Aspire Processing LLC
                      Mary Dee as the sole manager.                                                     2643-45
          Mary Dee opens a RISE Systems & Enterprise LLC             RISE Systems &                      EX 34,
8/19/16                                                                                     PayPal
                      merchant account with PayPal.                   Enterprise LLC                      1007
             A Disc Enterprises, LLC merchant account with
                                                                                                         EX 34,
8/23/16   PayPal is opened in the name of Robert Bell, spouse      Disc Enterprises, LLC    PayPal
                                                                                                          1012
                                 of Mary Dee.
            An Aspire Processing LLC merchant account with                                               EX 34,
8/23/16                                                            Aspire Processing LLC    PayPal
           PayPal is opened in the name of Alyssa Wilkerson.                                              1018
           PayPal places a limitation on Digital Altitude LLC's                                          EX 34,
8/25/16                                                             Digital Altitude LLC    PayPal
            merchant account for "High Risk Selling Activity."                                            1002
              PayPal places a limitation on RISE Systems &
          Enterprise LLC's (Utah) merchant account for "High
           Risk Selling Activity." Internal PayPal notes explain
                                                                     RISE Systems &                      EX 41,
8/25/16     that this limitation was placed in part because of:                             PayPal
                                                                   Enterprise LLC (Utah)                  1607
             "Payments received for RISE: Digital Marketing
                          Mastery Course via URL
                        https://my.digitalaltitude.co."
             PayPal places a limitation on Aspire Processing
              LLC's merchant account for "High Risk Selling
             Activity." Internal PayPal notes explain that this                                          EX 41,
8/26/16                                                            Aspire Processing LLC    PayPal
             limitation was placed because of: "Multiple new                                              1607
           accounts receiving high volume of large payments
                            for digitalaltitude.co."
          PayPal places a limitation on Disc Enterprises, LLC's
            merchant account for "High Risk Selling Activity."
                                                                                                         EX 41,
8/26/16   Internal PayPal notes explain that this limitation was   Disc Enterprises, LLC    PayPal
                                                                                                          1607
          placed because of: "Multiple new accounts receiving
          high volume of large payments for digitalaltitude.co."
          RISE Systems & Enterprise LLC's merchant account
             with Square is terminated because the account
             posed a "credit risk" and was "linked to a frozen
                                                                                                       EX 22, 842-
          user." An internal record maintained by Square notes      RISE Systems &
 9/1/16                                                                                     Square     43; EX 22,
           "claims this is a new biz [sic] when they have been       Enterprise LLC
                                                                                                          755
           processing similarly on other accts. Could be they
              rebranded due to the ripoff reports [i.e., online
                          consumer complaints]."
             Living Exceptionally LLC's merchant account is
 9/6/16      terminated by Square because of "declines and      Living Exceptionally LLC    Square     EX 22, 836
                               chargebacks."

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                                                                        Corporate Name on        Payment      Record
   Date                               Event
                                                                        Merchant Account        Processor     Citation
                 An Aspire Processing LLC merchant account with
                  Square is opened in the names of Dalila Fazai
                                                                                                             EX 22, 842;
  9/6/16          (misspelled "Fazia") and Rashard Washington           Aspire Processing LLC    Square
                                                                                                             EX 22, 632
              (spouses, respectively, of Michael Force and Morgan
                                        Johnson).
                 Aspire Processing LLC's merchant account with
  9/13/16         Square is terminated because the account was          Aspire Processing LLC    Square      EX 22, 843
                                "linked to a frozen user."
                  Mary Dee applies for an Aspire Processing LLC                                              EX 27, 911,
  9/13/16                                                               Aspire Processing LLC    ProPay
                            merchant account with ProPay.                                                       913
                 Digital Altitude LLC merchant account, previously
                 frozen, is formally terminated by EVO Payments                                   EVO/
  9/14/16                                                                Digital Altitude LLC                EX 25, 900
              International ("EVO") due to "excessive declines and                              PowerPay
                                   processing $1 trials."
               ProPay denies Mary Dee's application for an Aspire
  9/15/16        Processing LLC merchant account, notifying Dee         Aspire Processing LLC    ProPay      EX 27, 912
                            that the business is "high risk."
                  Mary Dee applies for an Aspire Processing LLC
              merchant account with Electronic Merchant Systems
                 ("EMS"). In that application she answers "no" in
  9/16/16       response to the question "Has the business or any       Aspire Processing LLC     EMS        EX 24, 865
                    associated owner ever been terminated as a
                   VISA/MasterCard/Discover/American Express
                                       merchant?"
               In a tax filing, Michael Force reports that he is 100%
                                                                                                             EX 28, 923-
  9/16/16        shareholder of Digital Altitude for the time period
                                                                                                                 28
                            8/15/2015 through 12/31/2016.
              Mary Dee submits an application for a Digital Altitude
  9/22/16        LLC merchant account to EVO stating that she is         Digital Altitude LLC     EVO        EX 25, 872
                         60% owner of Digital Altitude LLC.
                EMS denies Mary Dee's application for an Aspire                                              EX 24, 855,
  9/29/16                                                               Aspire Processing LLC     EMS
                     Processing LLC merchant account.                                                           860
                 Mary Dee and Michael Force apply for a Digital
                 Altitude LLC merchant account with MLS Direct                                  MLS Direct
                                                                                                             EX 31, 939-
 10/10/16       Network, Inc./TSYS. In the application, they state       Digital Altitude LLC    Network/
                                                                                                                 42
              that Dee owns 51% of Digital Altitude LLC and Force                                 TSYS
                                  owns 49%.
               MLS Direct Network, Inc./TSYS approves Mary Dee                                  MLS Direct
 10/14/16          and Michael Force's application and begins            Digital Altitude LLC    Network/    EX 31, 966
                  processing payments for Digital Altitude LLC.                                   TSYS

              Mary Dee applies for a Digital Altitude LLC merchant                                             EX 36,
 10/14/16                                                                Digital Altitude LLC   NetCents
              account with Netcents Technology, Inc. ("NetCents").                                              1129



                NetCents approves Mary Dee's application and                                                   EX 36,
  11/1/16                                                                Digital Altitude LLC   NetCents
              begins processing payments for Digital Altitude LLC.                                            1129-30

               NetCents terminates Digital Altitude LLC's merchant
               account after processing $779,960.72 in credit card
                                                                                                               EX 36,
                transactions. According to an June 26, 2017 email
 11/13/16                                                                Digital Altitude LLC   NetCents     1130; 1140-
                 from NetCents' president to Mary Dee, "[i]n total,
                                                                                                                41
              there were 969 transactions, of which 438 failed, and
                               431 were approved."
                   NetCents is terminated from processing any
                payments. According to an June 26, 2017 email
On or about                                                                                                    EX 36,
                from NetCents' president to Mary Dee, Netcents           Digital Altitude LLC   NetCents
 11/21/16                                                                                                     1140-41
                "had all their processing shut down as a result of
                  their business dealings with Digital Altitude."

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                                                                   Corporate Name on       Payment      Record
 Date                             Event
                                                                   Merchant Account       Processor     Citation
              Mary Dee and Michael Force apply for a Digital
                Altitude LLC merchant account with Chase
                                                                                            Chase      EX 16, 346-
12/14/16    Paymentec. In that application, they state that Dee    Digital Altitude LLC
                                                                                          Paymentech       50
            owns 90% of Digital Altitude LLC and Force owns
                                   10%.
             TSYS terminates Digital Altitude LLC's merchant
                                                                                          MLS Direct
            account due to its "excessive foreign card activity                                        EX 31, 958,
12/21/16                                                           Digital Altitude LLC    Network/
               with high decline" rates and the fact that the                                             966
                                                                                            TSYS
            business appears to have "no tangible products."
             EMS terminates Digital Altitude LLC's merchant
12/28/16   account due to the account's "excessive chargeback      Digital Altitude LLC      EMS       EX 24, 856
                                   ratio."
            Mary Dee and Morgan Johnson communicate with
 12/29-                                                                                                EX 26, 902-
            Bright Market LLC, dba FastSpring ("FastSpring")       Digital Altitude LLC   FastSpring
30/2016                                                                                                    06
                 regarding opening a merchant account.
           Mary Dee applies for a Digital Altitude LLC merchant
                                                                                           Pivotal     EX 28, 918-
12/29/16    account with Pivotal Payments. In that application     Digital Altitude LLC
                                                                                          Payments         21
           she states that she owns 51% of Digital Altitude LLC.

            FastSpring begins processing Digital Altitude LLC
 1/4/17                                                            Digital Altitude LLC   FastSpring   EX 26, 908
                        credit card transactions.

           Pivotal Payments denies Mary Dee's application for
            a Digital Altitude LLC merchant account due to the                             Pivotal     EX 28, 929-
 1/6/17                                                            Digital Altitude LLC
           merchant's “chargeback levels & prohibited products                            Payments         30
                            (business opportunity).”

                FastSpring terminates Digital Altitude LLC's
            merchant account, notifying Morgan Johnson that
            FastSpring "does not process MLM transactions."                                            EX 26, 907-
1/13/17                                                            Digital Altitude LLC   FastSpring
                 Between January 4 and January 13, 2017,                                                   09
            FastSpring processed 146 transactions for Digital
           Altitude, and 99 of those transactions were declined.

                  Alan Moore registers the domain name
1/17/17                                                                                                EX 18, 615
                          traininggrades.com.                      Digital Altitude LLC
           Gerard Joseph attempts to open a merchant account
            with Square for Martin Merriment Companies, Inc.,       Martin Merriment                   EX 22, 713,
1/19/17                                                                                     Square
                          using the email address                   Companies, Inc.                       715
              "support@traininggrades.com," and is denied.
               Alan Moore disables the functionality on the
               traininggrades.com website that would allow
1/19/17                                                                                                EX 19, 618
            consumers to make credit card payments through
                                the website.
            A Digital Altitude staff member--apparently unaware
                of Square's denial of the Martin Merriment
                                                                                                         EX 38,
1/21/17     Companies, Inc. account--directs salespeople to use
                                                                                                          1228
           the website traininggrades.com to accept consumer's
                  credit card payments for Digital Altitude.
           Mary Dee applies for a Digital Altitude LLC merchant
            account with Unified Payments. In that application
            she answers "no" in response to the question "Has
               the merchant or owner been terminated from                                  Unified     EX 23, 847-
2/21/17                                                            Digital Altitude LLC
            accepting credit card payments from any payment                               Payments         50
             network for this business or any other business?"
           She also states that she owns 90% of Digital Altitude
                                    LLC.




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                                                                   Corporate Name on        Payment         Record
 Date                             Event
                                                                   Merchant Account        Processor        Citation

             Unified Payments accepts Dee's application and                                 Unified
2/28/17                                                            Digital Altitude LLC                    EX 23, 853
             opens a Digital Altitude LLC merchant account.                                Payments

           Digital Altitude LLC and Michael Force are placed on
             MasterCard's MATCH ("Member Alert to Control
                                                                                                           EX 23, 851-
3/10/17    High-Risk Merchants") list by First National Bank of    Digital Altitude LLC
                                                                                                               52
           Omaha, the acquiring bank for MLS Direct Network,
                               Inc. and TSYS.

            Unified Payments terminates Digital Altitude LLC's                              Unified
 3/1/17                                                            Digital Altitude LLC                    EX 23, 853
                          merchant account.                                                Payments


            In the MOBE v. Digital Altitude LLC matter (C.D.
            Cal.), Michael Force provides the following sworn
                                testimony:
                                                                                                             EX 35,
 4/6/17        "Q.· Who has ownership in Digital Altitude?
                                                                                                              1091
                           A.· Me and my wife.
                            Q.· Anyone else?
                            A.· No one else."

               Pauline Amegbedji's credit card statement lists
                  Mexico City, Mexico as the location of the
4/15/17       transaction when she purchases Ascend on her                                                   EX 1, 9
             credit card, and she is charged a foreign currency
                                conversion fee.
              Allied Wallet, Ltd. notifies Morgan Johnson that
                Digital Altitude’s merchant account would be
                                                                                          Allied Wallet,     EX 41,
 5/3/17       terminated because “our banking partners have        Digital Altitude LLC
                                                                                               Ltd.           1610
           advised that they cannot support the business model
                               moving forward.”
            Brendan Marais' credit card statement lists Mexico
10/16/17    City, Mexico as the location of the transaction when                                           EX 14, 309
                    he purchases Rise on his credit card.




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                        Aspire Processing LLC - Timeline

   Date                                 Activity                                      Source
             Sean Brown registers Aspire Processing LLC in Nevada;
 8/14/2016   claims an "office or position with" Aspire, and lists Mary Dee as EX 41, 2643-45
             sole Manager.

             Brown (using Digital Altitude's EIN number) opens a bank
 8/18/2016   account for Aspire Processing at JPMorgan Chase, with           EX 16, 361
             account number ending in 1576.

             Aspire Processing opens a merchant account with PayPal
 8/23/2016   under the name of Alyssa Wilkerson, using the x1576 bank        EX 34, 1018-20
             account.
             PayPal places limit on the merchant account for "High Risk
             Selling Activity," in part because the account took funds "for
 8/26/2016                                                                  EX 41, 1607
             RISE: Digital Marketing Mastery Course via URL
             https://my.digitalaltitude.co."
             Aspire Processing opens a merchant account with Square
             under the names of the spouses of Michael Force and Morgan
  9/6/2016                                                                  EX 22, 632, 653-59, 843
             Johnson, using the x1576 bank acount, and ad copy for the
             "Rise" level.

             Square terminates Aspire Processing's merchant account
 9/13/2016                                                                   EX 22, 843
             because it was "linked to a frozen user."


             Mary Dee applies to ProPay for a merchant account for Aspire
 9/13/2016                                                                EX 27, 911, 913
             Processing.



 9/15/2016   ProPay denies the application.                                  EX 27, 912



             Mary Dee applies to EMS for a merchant account for Aspire
 9/16/2016                                                                   EX 24, 865
             Processing; claims it has never been terminated.



 9/29/2016   EMS denies the application.                                     EX 24, 855, 860


                                                                             EX 16, 396 (Digital
             Square transfers $410,508.29 from Aspire Processing's
                                                                             Altitude controls x3265),
12/19/2016   merchant account to Digital Altitude's JPMorgan Chase bank
                                                                             425 (transfer); EX 22,
             account ending in 3265.
                                                                             643 (transfer)
             PayPal transfers $292,281 from Aspire Processing's merchant EX 16, 503 (Digital
  4/5/2017   account to Digital Altitude's JPMorgan Chase bank account   Altitude controls x3280);
             ending in 3280.                                             EX 41, 1606 (transfer)




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                           RISE Systems Enterprise LLC - Timeline

    Date                                      Activity                                      Source

              Mary Dee registers RISE Systems & Enterprise LLC in Nevada, with
  8/2/2016                                                                           EX 41, 2725-26
              herself and Morgan Johnson as managers.


              Morgan Johnson opens a merchant account for RISE (Nevada) with
  8/2/2016                                                                           EX 22, 716, 842
              Square.


              RISE Systems & Enterprise LLC is registered in Utah with Sean
  8/4/2016                                                                           EX 41, 2727-30
              Brown as agent and sole manager.


              Sean Brown opens a bank account for RISE (Utah) at JPMorgan
  8/5/2016                                                                           EX 16, 521
              Chase, with account number ending in 5129.


              Mary Dee opens a merchant account with PayPal for RISE, listing
 8/19/2016    risesystems.weebly.com as its website, and linking it to RISE (Utah)'s EX 34, 1007-09
              x5129 bank account.

              PayPal places limit on merchant account for "High Risk Selling
 8/25/2016    Activity," in part because the account took funds "for RISE: Digital   EX 41, 1607
              Marketing Mastery Course via URL https://my.digitalaltitude.co."


              Morgan Johnson links RISE (Nevada)'s merchant account with
 8/25/2016                                                                           EX 22, 716
              Square to RISE (Utah)'s x5129 bank account.


              Square requests more information from RISE; in response Morgan
 8/30/2016    Johnson claims RISE's place of business is Utah, and submits RISE      EX 22, 735-42
              (Nevada)'s registration papers.

              Morgan Johnson submits to Square a screenshot of
 [unknown]    risesystems.weebly.com showing ad copy for the Rise level, and a       EX 22, 744
              sample invoice showing purchases of the Peak and Ascend levels.
              Square terminates its merchant account, citing "credit risk" and
              "linked to a frozen user." Square also doubted Johnson's "claims this
  9/1/2016                                                                            EX 22, 755, 842-43
              is a new biz," as it was "processing similarly on other accts. Could be
              they rebranded due to the [online consumer complaints]."

              Square transfers $228,078 from RISE's merchant account to RISE         EX 16, 528; EX 22,
 2/14/2017
              (Utah)'s JPMorgan Chase bank acccount ending in 5129.                  728

                                                                                     EX 16, 396 (Digital
              RISE transfers $225,000 from its x5129 bank account to a Digital       Altitude controls
 2/14/2017
              Altitude bank account ending in 3265.                                  x3265), 472 & 528
                                                                                     (showing transfer)

2/21/2017 -   PayPal transfers $302,773 from RISE's merchant account to RISE         EX 16, 528; EX 41,
 2/23/2017    (Utah)'s JPMorgan Chase bank account ending in 5129.                   1606

                                                                                     EX 16, 396 (Digital
              RISE transfers $305,000 from its x5129 bank account to a Digital       Altitude controls
 2/23/2017
              Altitude bank account ending in 3265.                                  x3265), 473 & 528
                                                                                     (showing transfer)

                                                    Appendix III
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                                 Common Enterprise Evidence

                                                     Digital Altitude


   Sharing of
                  Digital Altitude has used numerous other entities to take consumers' credit card
    Business
                  payments through the other entities' merchant accounts. EX 22, 632-59 (Aspire
   Functions,
                  Processing), 716-45 (RISE), 757-96 (Thermography); EX 16, 396, 425, 503; EX 33,
  Policies, and
                  990-96; EX 34, 1007-21; EX 41, 1606-07.
   Marketing




               Digital Altitude has sent and received substantial funds from Thermography and Disc.
               EX 16, 396-470; 505-19, 538, 548-53; EX 17, 561, 565, 575. Thermography's bank
Commingling of accounts have been used to transact Digital Altitude's business since January 2016,
   Funds       including sending checks to its employees labeled "DA payroll", paying commissions
               to Digital Altitude affiliates, and funneling proceeds from merchant accounts to
               Digital Altitude bank accounts. EX 16, 364-73, 396-400, 538-39, 548-49.




  Common
                  Michael Force controls Digital Altitude, and owns it (possibly with his wife). EX 35,
 Ownership or
                  1091-92.
   Control



                  Digital Altitude's registered agent's Lewes, DE address (EX 41, 2722) is used by
                  Aspire Processing (EX 34, 1018-19), Disc (EX 34, 1012-13), and RISE (Utah) (EX
                  22, 716-45). It has used Digital Altitude UK's London address. EX 41, 2697; EX 39,
                  1268-69. It has shared a a mail drop and mail forwarding service with the RISE
   Sharing of
                  entities. EX 20, 621 & 624 (using Nevada documents but claiming Utah
   Addresses
                  incorporation). It shares a second mail drop with forwarding service with
                  Thermography. EX 21, 627, 630. It has used Soar's address. EX 41, 1607, 2731-2732;
                  EX 29, 931 (Fifth Third states it's Vantiv account); EX 32, 971-74 (Vantiv identifies a
                  Digital Altitude account handled through PayZang).



Sharing of Phone Digital Altitude shares a phone number with Aspire Processing (EX 39, 1268-69, 1468-
 Numbers and 72) and RISE (Utah) (EX 22, 716; EX 39, 1268-69), and another with RISE (Utah)
   Websites      and Upside (EX 41, 1607 & EX 16, 346; EX 20, 621; EX 34, 1007-08.




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                                  Common Enterprise Evidence

                                                     Digital Altitude UK
                  Used to process consumers' payments to Digital Altitude. EX 33, 990-96;
                  AspireOnline.co, a website controlled first by Digital Altitude UK, then by Aspire
   Sharing of
                  Processing UK, and, currently, by Aspire Ventures, markets Digital Altitude
    Business
                  memberships; its content has stayed the same as it has transferred registrants,
   Functions,
                  evidencing a continuous, single controlling party (the enterprise). EX 39, 1382-1429.
  Policies, and
                  Clicking to pay takes one to a site controlled by Digital Altitude. Id . at 1242; EX 18,
   Marketing
                  612. The site is nearly identical to portions of Digital Altitude's own site, and to a site
                  controlled by Aspire Processing. EX 39, 1251-1285, 1382-1412, 1431-1459.




Commingling of Funds paid by consumers through Digital Altitude UK's merchant account were sent
   Funds       directly to a Digital Altitude bank account. EX 17, 561; EX 33, 995.




  Common
 Ownership or     Owned by Michael Force, managed by Mary Dee. EX 41, 2696-2705.
   Control




                  Shares its UK address with Digital Altitude and Aspire Processing UK. EX 39, 1268-
   Sharing of
                  69, 1424-25; EX 41, 2646-47, 2696-97. Digital Altitude has claimed the same address
   Addresses
                  as its "UK address." EX 39, 1268-69.




                 Control of a website marketing Digital Altitude has passed from Digital Altitude UK
Sharing of Phone
                 to Aspire Procesing UK, to Aspire Ventures. EX 39, 1418-29. The site is nearly
 Numbers and
                 identical to portions of Digital Altitude's own site, and to a site controlled by Aspire
   Websites
                 Processing. EX 39, 1251-1285, 1382-1412, 1431-1459.



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                                 Common Enterprise Evidence

                                                    Aspire Processing
                  Aspire Processing opened merchant accounts with Square and PayPal and used them
                  to process consumers' payments to Digital Altitude. EX 16, 396, 425, 503; EX 22, 632-
   Sharing of
                  59; EX 34, 1018; EX 41, 1606. Its website, "AspireReach.com" is controlled by Alan
    Business
                  Moore, a Digital Altitude officer, and is marketing Digital Altitude memberships. EX
   Functions,
                  39, 1431- 1460, 1468-72. The site is nearly identical to portions of Digital Altitude's
  Policies, and
                  own site, and to "Aspireonline.co." EX 39, 1251-1285, 1382-1412, 1431-1459. When
   Marketing
                  you click through to the payment page for Rise, you are taken to a page on aspir.me, a
                  site controlled by Digital Altitude. EX 18, 612; EX 39, 1243.




               Funds paid by consumers through Aspire Processing's merchant accounts with Square
Commingling of
               and PayPal were sent directly to a Digital Altitude bank account. EX 41, 1606 & EX
   Funds
               16, 396, 425, 503; EX 22, 632-59; EX 34, 1018.




                  Brown is an officer of Aspire Processing, and opened two bank accounts in its name.
  Common
                  EX 16, 361, 532; EX 41, 2643-45. Mary Dee is a manager, and has claimed she is the
 Ownership or
                  100% owner. EX 41, 2643-45; EX 24, 865. A merchant account for Aspire Processing
   Control
                  was opened in the names of the spouses of Force and Johnson. EX 22, 632.



                  Aspire Processing uses the Lewes, DE address of Digital Altitude's registered agent.
                  EX 16, 361; EX 24, 865; EX 34, 1018-19; EX 41, 2722. It has shared a Walnut,
                  California mail drop with Digital Altitude. EX 22, 632, 670. It has shared a Texas
   Sharing of     residential address with Thermography and Disc. EX 16, 538; EX 34, 1012-13, 1018-
   Addresses      19, 1024-25. It has listed its address as "16192 Coastal Hwy London N15 5NU", a
                  fabricated address combining a street address used by Aspire Processing and Digital
                  Altitude and the city and postal code of Aspire Processing UK and Aspire Ventures.
                  EX 39, 1460.

                 Aspire Processing shares two phone numbers and an email address with Aspire
                 Processing UK & Aspire Ventures. EX 39, 1385-86, 1391-92, 1424-29, 1460, 1468-
                 69. It has listed, as its own, a website controlled by Aspire Processing UK / Aspire
Sharing of Phone
                 Ventures. EX 24, 860. Its website, AspireReach.com, states, several times that the
 Numbers and
                 site's owner/controller is "Aspire Ventures." EX 39, 1462-64. It shares a phone
   Websites
                 number, 323-640-0738, with RISE. EX 24, 865; EX 34, 1007-08. It also shares phone
                 numbers with Digital Altitude (EX 39, 1268-69, 1468-72), and Digital Altitude UK,
                 Aspire Processing UK, and Aspire Ventures (Id . at 1392, 1418-29, 1460).

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                                  Common Enterprise Evidence

                                                   Aspire Processing UK

                  AspireOnline.co, a website controlled first by Digital Altitude UK, then by Aspire
   Sharing of     Processing UK, and, currently, by Aspire Ventures, markets Digital Altitude
    Business      memberships. EX 39, 1382-1429. When you click through to the payment page, you
   Functions,     are taken to a site controlled by Digital Altitude. Id . at 1242; EX 18, 612. Clicking to
  Policies, and   pay takes one to a site controlled by Digital Altitude. Id . at 1242; EX 18, 612. The site
   Marketing      is nearly identical to portions of Digital Altitude's own site, and to a site controlled by
                  Aspire Processing. EX 39, 1251-1285, 1382-1412, 1431-1459.




Commingling of
   Funds




                  Aspire Processing UK's officers include Alan Moore, and Mohammed Abdul Alim,
  Common
                  who receives frequent substantial payments from Digital Altitude, and controls Aspire
 Ownership or
                  Ventures. EX 41, 1609, 2299, 2646-84. Mary Dee was the original manager, as is the
   Control
                  sole owner. Id . at 2646-84.




                  Aspire Processing UK shares an address with Aspire Ventures. EX 41, 2675, 2695. It
   Sharing of
                  shares an address with Digital Altitude and Digital Altitude UK. Id . at 2697; EX 39,
   Addresses
                  1268-69, 1424-25.




                 Aspire Processing UK's website, "aspireonline.co", is also claimed by Aspire
Sharing of Phone Processing as its website in an application for a merchant account. EX 24, 860. It
 Numbers and shares an email address with Aspire Processing. EX 39, 1385-86, 1460, 1468-72. It
   Websites      shares a phone number with Aspire Processing, Digital Altitude UK, and Aspire
                 Ventures. Id . at 1392, 1418-29, 1460.



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                                  Common Enterprise Evidence

                                                      Aspire Ventures

                  AspireOnline.co, a website controlled first by Digital Altitude UK, then by Aspire
   Sharing of     Processing UK, and, currently, by Aspire Ventures, markets Digital Altitude
    Business      memberships. EX 39, 1382-1429. When you click through to the payment page, you
   Functions,     are taken to a site controlled by Digital Altitude. Id . at 1242; EX 18, 612. Clicking to
  Policies, and   pay takes one to a site controlled by Digital Altitude. Id . at 1242; EX 18, 612. The site
   Marketing      is nearly identical to portions of Digital Altitude's own site, and to a site controlled by
                  Aspire Processing. EX 39, 1251-1285, 1382-1412, 1431-1459.




Commingling of
   Funds




  Common          Aspire Ventures is controlled by Mohammed Abdul Alim, who receives payments
 Ownership or     from who receives frequent substantial payments from Digital Altitude, and is a
   Control        manager of Aspire Processing Limited. EX 41, 1609, 2685-95.




   Sharing of
                  Aspire Ventures shares an address with Aspire Processing UK. EX 41, 2675, 2695.
   Addresses




                 Aspire Processing's website, "AspireReach.com" states, several times, in its terms of
                 service, that the site's owner/controller is "Aspire Ventures." EX 39, 1462-64. Aspire
                 Ventures's website, "aspireonline.co", is also claimed by Aspire Processing as its
Sharing of Phone
                 website in an application for a merchant account. EX 24, 860. It shares two phone
 Numbers and
                 numbers and an email address with Aspire Processing UK & Aspire Processing. EX
   Websites
                 39, 1385-86, 1391-92, 1424-29, 1460, 1468-69. It shares a phone number with Aspire
                 Processing, Digital Altitude UK, and Aspire Processing UK. Id . at 1392, 1418-29,
                 1460.

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                                                     Disc Enterprises


                  Disc used its merchant account to process consumers' payments to Digital Altitude.
   Sharing of
                  EX 34, 1012-14; EX 41, 1606. Disc's website looks very simliar to portions of Digital
    Business
                  Altitude's website, and its links take one to Digital Altitude's website. EX 39, 1244-45;
   Functions,
                  compare id . at 1280-85 with 1507-1522. Disc has made payments to employees of
  Policies, and
                  Digital Altitude, and to the company that owns the offices where Soar is based. EX 16,
   Marketing
                  505-12.




               Digital Altitude and Thermography have both transferred substantial funds to Disc's
Commingling of
               bank account, and Disc has made payments to employees of Digital Altitude, and to
   Funds
               the company that owns the offices where Soar is based. EX 16, 505-12.




                  Disc is controlled by Digital Altitude's VP of Business Development, Jashin Howell.
  Common          MOBE Ltd. v. Digital Altitude LLC , No. 2:16-CV-5708, Dkt #93-2, p.31 (C.D. Cal.
 Ownership or     Apr. 17, 2017); EX 41, 2723-24. Sean Brown, Morgan Johnson, and Mary Dee are
   Control        signatories on Disc's bank account, and Sean Brown claims to be its "President." EX
                  16, 505-10.




                  Disc uses the Lewes, DE address of Digital Altitude's registered agent. EX 34, 1012-
   Sharing of
                  13. And it uses a Texas residential address also used by Thermography and Aspire
   Addresses
                  Processing. EX 16, 538; EX 34, 1012-13, 1018-19, 1024-1025.




                 Disc shares a phone number (760-566-6279) with Aspire Processing. EX 34, 1012-13,
Sharing of Phone
                 1018-19. Disc's website looks very simliar to portions of Digital Altitude's website,
 Numbers and
                 and its links take one to Digital Altitude's website. EX 39, 1244-45; compare id. at
   Websites
                 1280-85 with 1507-1522.



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                                                       RISE (Utah)


   Sharing of     RISE (Utah) opened merchant accounts with PayPal and Square and used them to
    Business      process consumers' payments to Digital Altitude. EX 16, 472-73, 521, 528; EX 22,
   Functions,     716-28; EX 34, 1007-09; EX 41, 1606. RISE's website, risesystems.weebly.com,
  Policies, and   claims to sell "RISE", and takes one to the Digital Altitude purchase agreement, if one
   Marketing      clicks to buy. EX 22, 736-45. EX 39, 1244, 1498-1505.




               RISE's bank account was opened with a $50,000 check from Digital Altitude, and it
               received numerous further checks from Digital Altitude. EX 16, 521-27. RISE
Commingling of
               funnelled the proceeds of its merchant accounts to Digital Altitude the same day they
   Funds
               were deposited in its bank account. EX 16, 472-73, 521, 528; EX 22, 716-28; EX 34,
               1007-09; EX 41, 1606.




                  Sean Brown is the sole manager of RISE (Utah) and opened its bank account. EX 16,
  Common          521; EX 41, 2727-29. Mary Dee has signatory authority on its bank account and has
 Ownership or     opened a merchant account in its name. EX 16, 521-22; EX 34, 1007. Morgan Johnson
   Control        also has signatory authority on its bank account and has opened a merchant account in
                  its name. EX 16, 521-23; EX 22, 716.




                  Both RISE entities shared an account with Digital Altitude at a mail drop and mail
   Sharing of
                  forwarding service. EX 20, 621-24. It has also used the same Lewes, DE address as
   Addresses
                  Digital Altitude's registered agent. EX 22, 745.




Sharing of Phone RISE (Utah) has shared a phone number with Digital Altitude: 800-820-7589 (EX 22,
 Numbers and 745; EX 39, 1268-69); and another with both Digital Altitude and Upside: 323-640-
   Websites      0738 (EX 16, 346; EX 34, 1007-08; EX 41, 1607).




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                                                       RISE (Nevada)


   Sharing of      The individual defendants treat RISE (Utah) and RISE (Nevada) as if they were a
    Business       single entity, for example referencing both entities in an application for a mail drop
   Functions,      and mail forwarding service, and with respect to a merchant account. EX 22, 736-40
  Policies, and    (for Square account, submitting Nevada corporate documents but claiming Utah
   Marketing       incorporation); EX 20, 621-25 (same, for mail forwarding service).




Commingling of A merchant account for the RISE entities took consumers' payments to Digital
   Funds       Altitude. EX 16, 472, 521, 528; EX 22, 716-28, 736-40.




  Common
 Ownership or      RISE (Nevada) is controlled by Mary Dee and Morgan Johnson. EX 41, 2725-26.
   Control




                   Both RISE entities shared an account with Digital Altitude at a mail drop and mail
   Sharing of
                   forwarding service. EX 20, 621-25 (submitting Nevada corporate documents but
   Addresses
                   claiming Utah incorporation).




Sharing of Phone
 Numbers and
   Websites




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                                                             Soar


   Sharing of
    Business
                   Soar's listed address appears to be the location of a Digital Altitude call center. EX 38,
   Functions,
                   1225; EX 41, 1605, 2730-33, 2266.
  Policies, and
   Marketing




Commingling of
   Funds




                   Soar's owners and managers are Michael Force and Digital Altitude's VP of Business
                   Development, Jashin Howell. EX 41, 2730-33; MOBE Ltd. v. Digital Altitude LLC ,
  Common           No. 2:16-CV-5708, Dkt #93-2, p.31 (C.D. Cal. Apr. 17, 2017). Mary Dee and Sean
 Ownership or      Brown are managers and signers on its bank accounts. EX 41, 2730-33. When an FTC
   Control         investigator visited Soar's listed address, Ryan Jaten, DA's Director of Sales, was
                   identified physically on-premises. Id . at 1605; MOBE , No. 2:16-CV-5708, Dkt #93-2,
                   p.31.



                   Soar's address has been used by Digital Altitude. EX 41, 1607 (address appears in
                   billing description for "PYZ*Digital Altitude" charges processed through Fifth Third
   Sharing of
                   Bank, as does Digital Altitude's 800 number); EX 29, 931 (Fifth Third states Vantiv
   Addresses
                   controlled the account); EX 32, 971-74 (Vantiv letter identifying a Digital Altitude
                   account handled through PayZang).




Sharing of Phone
 Numbers and
   Websites




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                                                        Upside


   Sharing of
                  Upside has used a merchant account to take consumers' payments to Digital Altitude.
    Business
                  EX 41, 1607. Upside's website, climbingsteps.com, was created by Alan Moore on
   Functions,
                  Digital Altitude's behalf, and appears designed to process consumers' payments to
  Policies, and
                  Digital Altitude. EX 18, 614; EX 19, 618; EX 39, 1476-89.
   Marketing




Commingling of Upside has used a merchant account to take consumers' payments to Digital Altitude.
   Funds       EX 41, 1607.




  Common
 Ownership or     The Upside is controlled by Mary Dee and an associate of hers. EX 41, 2734-38.
   Control




   Sharing of
   Addresses




Sharing of Phone
                 Upside has shared a phone number with Digital Altitude and RISE (Utah): 323-640-
 Numbers and
                 0738. EX 16, 346; EX 34, 1007-08; EX 41, 1607.
   Websites




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                                                     Thermography


   Sharing of      Thermography's bank accounts have been used to transact Digital Altitude's business
    Business       since January 2016, including sending checks to its employees labeld "DA payroll",
   Functions,      paying commissions to Digital Altitude affiliates, and funneling proceeds from
  Policies, and    merchant accounts to Digital Altitude bank accounts. EX 16, 364-77, 396-400, 538-39,
   Marketing       548-49.




Commingling of Thermography has sent and received substantial funds from Digital Altitude and Disc.
   Funds       EX 16, 396-470, 505-19, 538-553.




  Common
                   Thermography is owned and controlled by Mary Dee and her husband. EX 41, 2739-
 Ownership or
                   57.
   Control




                   Thermography shares a mail drop with forwarding service with Digital Altitude. EX
   Sharing of
                   21, 627-30. Thermography has also shared a Texas residential address with Disc and
   Addresses
                   Aspire Processing. EX 16, 538; EX 34, 1012-13, 1018-19, 1024-1025.




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 Numbers and
   Websites




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